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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

MONTAGE MORTGAGE, LLC,                             §
                                                   §
                     Plaintiff,                    §
                                                   §
v.                                                 §            3:17-CV-02971-B
                                                           NO. __________________________
                                                   §
PACIFIC UNION FINANCIAL, LLC,                      §
JOHN PERRY, VALERIE COLEMAN,                       §
CAITLIN V. COOKE, EDUARDO                          §
CREQUE, JESSICA M. FURR (KEEN),                    §
KATHY KELLER, FOUAD NAGHMI,                        §
TAMMY NEAL, CHARLES F. PEER,                       §
MICHAELENE WHYTE, AND MELISSA                      §
WILLOBY,                                           §
                                                   §
                     Defendants.                   §

                     INDEX OF DOCUMENTS ATTACHED TO NOTICE
                            OF REMOVAL OF CIVIL ACTION

Exhibit       Document                                                 File Date

     1.       State Court Civil Docket Sheet                           10/27/2017

     2.       Plaintiff’s Original Petition                            03/14/2016

     3.       Plaintiff’s Civil Cover Sheet                            03/14/2016

     4.       Citation to John Perry                                   03/22/2016

     5.       Citation to Micah Laverne Greene                         03/22/2016

     6.       Citation to Pacific Union                                03/22/2016

     7.       Non-Signed Proposed Agreed Temporary Restraining         04/05/2016
              Order

     8.       Service of Citation - Micah Greene                       04/07/2016

     9.       Service of Citation - John Perry                         04/11/2016

     10.      Order - Agreed Temporary Restraining Order               04/11/2016




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    11.       Letter to Clerk                                          04/15/2016

    12.       TRO Issued to Pacific Union                              04/15/2016

    13.       TRO Issued to Micah Greene                               04/15/2016

    14.       TRO Issued to John Perry                                 04/15/2016

    15.       Notice Issued to Pacific Union                           04/15/2016

    16.       Notice Issued to Micah Greene                            04/15/2016

    17.       Notice Issued to John Perry                              04/15/2016

    18.       Pacific Union Agreement Accepting Service of WRIT,       04/20/2016
              TRO, and NOTICE TO SHOW CAUSE

    19.       John Perry’s Agreement to Accept Service of WRIT, TRO,   04/20/2016
              and NOTICE TO SHOW CAUSE

    20.       Micah Laverene Greene Agreement to                       4/201/2016

    21.       Plaintiff’s Certificate of Written Discovery             04/21/2016

    22.       Registry Deposit Receipt for Cash Bond                   04/22/2016

    23.       Proposed Agreed Temporary Injunction                     04/26/2016

    24.       Order - Agreed Temporary Injunction                      05/02/2016

    25.       Plaintiff’s Certificate of Written Discovery             07/19/2016

    26.       Defendant John Perry’s Responses to Request for          08/18/2016
              Disclosure

    27.       Plaintiff’s First Amended Petition                       09/12/2016

    28.       Proposed Agreed Judgment between Plaintiff and Micah     10/04/2016
              Greene

    29.       Order - Judgement Agreed as to Micah Greene              10/06/2016

    30.       Agreement to Memorialize the Rule 11 Agreement           10/19/2016
              Reached

    31.       Rule 11 Agreement                                        11/23/2016

    32.       Rule 11 Letter Regarding Objections                      12/29/2016



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    33.       Jury Demand                                                 02/10/2017

    34.       Motion to Enter Scheduling Order                            02/27/2017

    35.       Non-Signed Proposed Scheduling Order                        02/27/2017

    36.       Joint Motion for a Continuance                              03/07/2017

    37.       Notice of Hearing for Entry of a Scheduling Order and       03/07/2017
              Joint Motion for Continuance of Trial

    38.       Non-Signed Agreed Protective Order                          03/09/2017

    39.       Non-Jury Trial Notice to Sean McCaffity                     03/14/2017

    40.       Non-Jury Trial Notice to Bryan Bruner                       03/14/2017

    41.       Non-Jury Trial Notice File Copy                             03/14/2017

    42.       Agreed Protective Order Letter                              03/20/2017

    43.       Order - Agreed Protective Order Signed                      03/23/2017

    44.       Scheduling Order                                            03/31/2017

    45.       Jury Trial Civil Notice to Bryan Bruner                     04/17/2017

    46.       Jury Trial Civil Notice to Sean McCaffity                   04/17/2017

    47.       Jury Trial Civil Notice File Copy                           04/17/2017

    48.       Unopposed Motion for Admission Pro Hac Vice                 04/17/2017

    49.       Non-Signed Proposed Order to Appear Pro Hac Vice            04/17/2017

    50.       Order Granting Pro Hac Vice                                 05/12/2017

    51.       Notice of Appearance                                        05/18/2017

    52.       Pacific Union’s Original Answer - General Denial            05/22/2017

    53.       Letter regarding Rule 11 Response Deadline                  05/25/2017

    54.       Motion to Withdraw and Substitute Attorney                  06/06/2017

    55.       Non-Signed Proposed Order on Motion to Withdraw and         06/06/2017
              Substitute Attorney




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    56.       Order - Substitution of Counsel                             06/21/2017

    57.       Pacific Union’s Motion for Continuance                      06/29/2017

    58.       Non-Signed Proposed Amended Scheduling Order                06/29/2017

    59.       Notice of Hearing for Continuance                           06/30/2017

    60.       Non-Signed Proposed Agreed Amended Scheduling Order         07/19/2017

    61.       Order - Amended Scheduling Order                            08/03/2017

    62.       Pacific Union’s First Amended Answer - Amended              08/11/2017
              General Denial

    63.       Motion to Compel Defendant’s Production of Documents        08/11/2017
              and to Overrule Defendant’s Objections

    64.       Non-Signed Proposed Order for Plaintiff’s Motion to         08/11/2017
              Compel

    65.       Plaintiff’s Motion for Leave to Communicate with Certain    08/11/2017
              Former Employees Currently Employed By Pacific Union

    66.       Non-Signed Proposed Order for Leave to Communicate          08/11/2017

    67.       Pacific Union’s Motion to Overrule Objections and           08/16/2017
              Compel Discovery

    68.       Notice of Hearing on Motions to Compel and for Leave        08/17/2017

    69.       Notice of Hearing on Defendant’s Motion to Overrule and     08/18/2017
              Objections

    70.       Pacific Union’s Response in Opposition to Plaintiff’s       08/29/2017
              Motion to Compel Production of Documents

    71.       Plaintiff’s Notice of Withdrawal of Motion to               08/31/2017
              Communicate

    72.       Plaintiff’s Opposition to Defendant Pacific Union’s Motion 08/31/2017
              to Compel

    73.       Non-Signed Proposed Order for Motion to Compel and          09/08/2017
              Overrule Objections

    74.       Non-Signed Proposed Order on Motion to Overrule             09/08/2017
              Objections and Compel



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    75.       Plaintiff’s Second Amended Petition                          09/29/2017

    76.       Certificate of Deposition of Thomas Black                    10/04/2017

    77.       Citation Issued to Eduardo Creque                            10/06/2017

    78        Citation Issued to Charles Peer                              10/06/2017

    79.       Citation Issued to Melissa Willoby                           10/06/2017

    80.       Citation Issued to Michaelene White                          10/06/2017

    81.       Citation Issued to Tammy Neal                                10/06/2017

    82.       Citation Issued to Fouad Naghmi                              10/06/2017

    83.       Citation Issued to Kathy Keller                              10/06/2017

    84.       Citation Issued to Jessica Furr (Keen)                       10/06/2017

    85.       Citation Issued to Caitlin Cooke                             10/06/2017

    86.       Citation Issued to Valerie Coleman                           10/06/2017

    87.       Montage Mortgage, LLC’s Privilege Log Request                10/12/2017

    88.       Montage’s Motion to Compel Defendant’s Production of         10/12/2017
              Documents and to Overrule Defendant’s Objections
    89.       Agreement Accepting Service of Citations - Tyree Jones       10/16/2017

    90.       Notice of Hearing on Montage’s Motion to Compel              10/24/2017
              Defendant’s Production of Documents and to Overrule
              Defendant’s Objections
    91.       Pacific Union Financial LLC’s Answer to Plaintiff’s Second   10/24/2017
              Amended Complaint
    92.       Defendant John Perry’s Original Answer                       10/25/2017

    93.       Notice of Trial to Wayne - Trial Date 4-9-2018               08/03/2017

    94.       Notice of Trial to Bruner - Trial Date 4-9-2018              08/03/2017

    95.       Notice of Trial to Painter - Trial Date 4-9-2017             08/03/2017




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Dated: October 27, 2017                        Respectfully submitted,



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                                CERTIFICATE OF SERVICE

This is to certify that a true and correct copy of the above and foregoing has been served upon all
counsel of record via the Court’s electronic filing system, on this 27th Day of October 2017, as
follows:

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                                             /s/ Jason R. Elliott
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